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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA

                 v.                                          Criminal No. 15-cr-10271-WGY

         ALEX LEVIN


                                            PRETRIAL ORDER
YOUNG,D.J.
        After an Initial Pretrial Conference held on March 7, 2016, it is hereby ORDERED that:

        1.       A hearing on any motion to dismiss, suppress, sever, or other issue that must be resolved

prior to trial will be held Friday, March 25, 2016.

        2.       Trial shall commence on June 13, 2016, at 9:00 AM

        3.       The government shall by      5/16/2016 1 disclose to the defendant:

                 (a)      The exculpatory information identified in Local Rule 116.2 that has not been

previously produced; and

                 (b)      A general description (including the approximate date, time, and place) of any

crime, wrong, or act the government proposes to offer pursuant to Fed. R. Evid. 404(b).

        4.       Pursuant to the agreement of the parties, statements (as defined in 18 U.S.C. § 3500(e)

and Fed. R. Crim. P. 26.2(f)) of witnesses each party intends to call in its or his case-in- chief shall be

produced by       6/6/2016 .

        5.       The parties shall by     6/10/2016 file proposed voir dire questions, proposed jury

instructions, any motions in limine with supporting memoranda, and a trial brief.2 Replies to any motion in



         This date will ordinarily be 21 days before trial unless the declination procedure provided by L.R.
116.6 has been invoked before the Initial Pretrial Conference. See L.R. 117.1(A)(4). The judge who will
preside at trial may, however, establish a date different from any date provided by L.R. 117.1 if the judge
determines that there are factors in the particular case that make it in the interests of justice to do so. See
L.R. 117.1(B).

The reference to a trial brief should be deleted if it is not appropriate to require that one be filed. See L.R.
117.1(A)(7).
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limine shall be filed by      6/10/2016.

           6.       The government shall by 6/6/2016 :3

                    (a)    Provide the defendant with the names and addresses of witnesses the

government intends to call at trial in its case-in-chief. If the government subsequently forms an intent to

call any other witness, the government shall promptly notify the defendant of the name and address of that

prospective witness.

                    (b)    Provide the defendant with copies of the exhibits and a premarked list of exhibits

the government intends to offer in its case-in-chief. If the government subsequently decides to offer any

additional exhibit in its case-in-chief, the government shall promptly provide the defendant with a copy of

the exhibit and a supplemental exhibit list.

           7.       The defendant shall by     6/8/2016.4

                    (a)    Provide the government with the names and addresses of the witnesses the

defendant intends to call in his case-in-chief. If the defendant subsequently forms an intent to call any

other witness in his case-in-chief, he shall promptly notify the government of the name and address of that

witness.

                    (b)    Provide the government with copies of the exhibits and a premarked list of the

exhibits the defendant intends to offer in his case-in-chief. If the defendant subsequently decides to offer

any additional exhibits in his case-in-chief, he shall promptly provide the government with a copy of the

exhibit and a supplemental exhibit list




           3
         Absent an objection, this date will ordinarily be 7 days before trial. See L.R. 117.1(A)(8).
However, if either party objects to the pretrial disclosure of its witnesses, the court will decide whether
such disclosure should be ordered. Id.
           4
         Absent an objection, this date will ordinarily be 3 days before trial. See L.R. 117.1(A)(9).
However, if either party objects to the pretrial disclosure of its witnesses, the court will decide whether
such disclosure should be ordered. Id.

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         8.         The parties shall by    6/10/2016       file a written stipulation of any facts that they agree

are not in dispute.

          9.        The following period(s) of time are excluded for Speedy Trial Act purposes, pursuant to 18

U.S.C. § 3161(h), for the reasons stated at the Initial Pretrial Conference:5      9/17/2015-6/13/2016.



                                                                       By the Court,



    March 8, 2016                                                        /s/ Jennifer Gaudet
                                                                       Deputy Clerk




         5
          See L.R. 112.2(B)

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